USCA4 Appeal: 21-6992           Doc: 13               Filed: 08/11/2023       Pg: 1 of 1

                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
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  __________________________________________________________________________________as the
                                                      (party name)

      appellant(s) ✔ appellee(s)      petitioner(s)      respondent(s)     amicus curiae       intervenor(s)   movant(s)


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